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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                               UNITED STATES BANKRUPTCY COURT                                             July 11, 2022
                                 SOUTHERN DISTRICT OF TEXAS                                            Nathan Ochsner, Clerk
                                       HOUSTON DIVISION

                                                                   )
    In re:                                                         )   Chapter 11
                                                                   )
    ION GEOPHYSICAL CORPORATION, et al.,1                          )   Case No. 22-30987 (MI)
                                                                   )
                               Debtors.                            )   (Jointly Administered)
                                                                   )
                                                                   )    Re: Docket No. ___

                          ORDER (I) EXTENDING THE TIME WITHIN
                         WHICH THE DEBTORS MAY REMOVE ACTIONS

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), (a) extending the time period

within which the Debtors may remove Actions pursuant to 28 U.S.C. § 1452 and Bankruptcy Rule
 The Motion states that it will be served on known litigation parties. The certificate of service
9027,
 does all
       notasreflect
              more service
                    fully setonforth in the
                                 known       Motion;
                                         litigation   and this
                                                    parties. AnCourt having
                                                                amended     jurisdiction
                                                                          certificate     over this
                                                                                      of service maymatter
                                                                                                     be
 filed.
pursuant to 28 U.S.C. § 1334; and this Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b); and this Court having found that it may enter a final order consistent with

Article III of the United States Constitution; and this Court having found that venue of this
  Signed: July 11, 2022
proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the relief requested in the Motion is in the best interests of the Debtors’
                                                                             Marvin Isgur
estates, their creditors, and other parties in interest; and this Court having found
                                                                   United States      that the Judge
                                                                                  Bankruptcy    Debtors’

notice of the Motion and opportunity for a hearing on the Motion were appropriate under the

circumstances and no other notice need be provided; and this Court having reviewed the Motion



1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: ION Geophysical Corporation (6646); I/O Marine Systems, Inc. (3230); ION Exploration Products
(U.S.A.), Inc. (1394); and GX Technology Corporation (0115). The location of the Debtors’ service address is 4203
Yoakum Blvd., Suite 100, Houston, Texas 77006.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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and having heard the statements in support of the relief requested therein at a hearing before this

Court, if any (the “Hearing”); and this Court having determined that the legal and factual bases set

forth in the Motion and at the Hearing establish just cause for the relief granted herein; and upon

all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

       1.      The period within which the Debtors may seek removal of the Actions pursuant to

28 U.S.C. § 1452 and Bankruptcy Rule 9027 is extended by 120 days, through and including

November 8, 2022, without prejudice to the Debtors’ right to seek further extensions thereof.

       2.      All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       3.      Notice of the Motion satisfies the requirements of Bankruptcy Rule 6004(a) and the

Local Rules are satisfied by such notice.

       4.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

       5.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       6.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

Houston, Texas
Dated:                , 2022

                                              __________________________________________
                                              UNITED STATES BANKRUPTCY JUDGE




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